Case: 1:01-cv-0773? Nocument#: 9 Eiled: 11/13/01 Pane Lott PagelD #5

Minute Order Form (0697)
United States District Court, Northern District of Illinois
Name of Assigned Judge Joan H. Lefkow Sitting Judge if Other
or Magistrate Judge . than Assigned Judge
CASE NUMBER 01 C 7732 DATE 11/13/2001
CASE LeChance vs. City of Chicago, et al.
TITLE
[In the following box {a} indicate the party filing the motion, ¢.g., plaintiff, defendant, 3rd party plaintiff, and (b) state briefly the nature
MOTION: of the motion being presented.]
DOCKET ENTRY:
qd) 0 Filed motion of { use listing in “Motion” box above.]
(2) O Brief in support of motion due
(3) Oo Answer brief to motion due . Reply to answer brief due
(4) O Ruling/Heating on __ set for at
(5) O Status hearing[held/continued to] [set for/re-set for] on set for at
(6) O Pretrial conference[held/continued to] [set for/re-set for} on set for at
(7) oO Trial[set for/re-set for] on at
(8) O (Bench/Tury trial] [Hearing] held/continued to at
(9) This case is dismissed [with/without] prejudice and without costs[by/agreement/pursuant to]
CIFRCP4(m) Ol General Rule21 OFRCP41(a\(1) O FRCP41(a)(2).
ao [Other docket entry] Motion of Michael R. Gibson of Odelson & Sterk, Ltd. for leave to withdraw
as counsel for plaintiffis granted. Michael Barrett is hereby appointed as counsel for plaintiff.
Michael Barrett (708) 371-8500 Barrett & Sramek
6446 W. 127" Street
Palos Heights, IL 60463
gal) oO [For further detail see order (on reverse side of/attached to) the original minute order.]
No notices required, advised in open court.
No notices required. number of notices
Notices mailed by judge’s staff.
NOV 15 2001
Notified counsel by telephone. date docketed
X | Docketing to mail notices, -
Mail AO 450 form. or 6 docketing deputy initials
Copy to judge/magistrate judge. .
courtroom AL RARE i S A S13 date mailed notice
MD deputy’s
initials
Date/time received in
central Clerk’s Office mailing deputy initials

